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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


________________________________________
                                            ) MDL No. 1456
IN RE: PHARMACEUTICAL INDUSTRY ) Master File No. 1:01-CV-12257-PBS
AVERAGE WHOLESALE PRICE                     ) Sub-Category Case No. 1:08-CV-11200
LITIGATION                                   )
                                             )
________________________________________)
                                             ) Judge Patti B. Saris
THIS DOCUMENT RELATES TO                     )
United States ex rel. Linnette Sun and Greg  )
Hamilton, Relators                           )
v.                                           )
Baxter Hemoglobin Therapeutics and Baxter )
International, Inc.                          )
________________________________________)



 [PROPOSED] ORDER TO LIFT STAY ON DISCOVERY TO PERMIT DEPOSITION
         OF MARKETING BUREAU RESEARCH AND TO CONTINUE
 DEADLINE FOR RELATORS’ OPPOSITION TO BAXTER’S MOTION TO DISMISS

       The Court has considered the motion of Relators Linnette Sun and Greg Hamilton To Lift

Stay in Discovery To Permit Deposition of Marketing Research Bureau And To Continue

Deadline For Relators’ Opposition to Baxter’s Motion To Dismiss, and orders as follows:

              1.     The stay on discovery ordered by this Court on June 22, 2009 shall be

                     lifted to permit Relators to take the deposition of Marketing Research

                     Bureau, but shall otherwise remain in effect;

              2.     The hearing on Baxter’s Motion To Dismiss shall be continued from

                     October 22, 2009 to __________, 2009 at ___ __m. in this court;




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            3.    The briefing schedule for Baxter’s Motion To Dismiss shall be changed

                  such that Relators’ opposition is now due on or before __________, 2009,

                  and Baxter’s reply is now due on or before _____________, 2009.



Dated: ______________________                         __________________________
                                                      Patti B. Saris
                                                      United States District Court Judge




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                                 CERTIFICATE OF SERVICE

         I hereby certify that I, Pamela R. Savoie, caused a true and correct copy of the foregoing
[PROPOSED] ORDER TO LIFT STAY ON DISCOVERY TO PERMIT DEPOSITION
OF MARKETING BUREAU RESEARCH AND TO CONTINUE DEADLINE FOR
RELATORS’ OPPOSITION TO BAXTER’S MOTION TO DISMISS to be delivered to all
counsel of record by electronic service via LexisNexis File & Serve for posting and notification
to all parties.


Dated: August 31, 2009                         /s/ Pamela R. Savoie
                                              Pamela R. Savoie
                                              Legal Assistant
                                              Law Office of Mark Allen Kleiman
                                              2907 Stanford Avenue
                                              Venice, CA 90292
                                              310-306-8094
                                              310-306-8491 (fax)




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